
MURDOCK, Justice
(dissenting).
Per my dissent in Federal Insurance Co. v. Reedstrom, 197 So.3d 971, 979 (Ala. 2015), I do not believe that the language in the arbitration provision referencing the use of the American Arbitration Association’s Commercial Rules rises to the level of a “clear and unmistakable” agreement that the issue of arbitrability must be decided by the arbitrator rather than by the court. I therefore do not agree with the majority’s resolution of this appeal—consigning the arbitrability issues to the arbitrator. Instead, I am of the view that the trial court was correct to address these issues and that this Court should now take up the merits of the trial court’s decision to deny arbitration.
